

People v Dinh (2022 NY Slip Op 00287)





People v Dinh


2022 NY Slip Op 00287


Decided on January 18, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 18, 2022

Before: Renwick, J.P., Webber, Oing, Scarpulla, Pitt, JJ. 


Ind No. 2532/17, 3381/18 Appeal No. 15081 Case No. 2019-03553 

[*1]The People of the State of New York, Respondent,
vVan Dinh, Now Known as, Jeannie Dinh, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Hilary Dowling of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Jillian Lewis of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (James Burke, J. at plea to 2532/17; Guy H. Mitchell, J. at plea to 3381/18 and sentencing,, J.), rendered April 18, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 18, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








